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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WISCONSIN


 In re:
                                                          Case No. 22-11558
          JENNIFER McKINNEY AND                           Chapter 13
          ISRAEL McKINNEY                                 Hon. Rachel M Blise

                              Debtors.


                                    PROOF OF SERVICE


          The undersigned hereby certifies that she is an employee in the Office of the

 United States Attorney for the Western District of Wisconsin and is a person of such age

 and discretion as to be competent to serve papers.

          That on November 3, 2022, she caused a copy of the Order Extending Order

 Freezing Accounts (ECF No. 57) to be served by certified mail and by facsimile to the

 following addressee:

          Pershing, LLC
          c/o James T. Crowley, CEO
          1 Pershing Plaza
          Jersey City, NJ 07399
          Fax: (201) 413-5368


                                                          /s/Angelica Santana
                                                          Angelica Santana
                                                          Paralegal Specialist
